        IN THE USDC WESTERN DISTRICT OF AR-FORT SMITH DIV., ARKANSAS
                               CIVIL DIVISION


 ROGER BURKE                                                           PLAINTIFF

 V.

 NOVARTIS PHARMACEUTICALS
 CORPORATION (ARKANSAS
 SECRETARY OF STATE FILING #:
 100030892)

 NOVARTIS PHARMACEUTICALS
 CORPORATION
 (ARKANSAS SECRETARY OF
 STATE FILING #: 800103152)

 and                                                                 DEFENDANTS
 LEISURE TIME PRODUCTS, LLC


                   MOTION FOR PRO HAC VICE OF RICHARD ELIAS

       Pursuant to Local Rule 83.5(d), Plaintiffs, by and through the undersigned counsel, move

for the admission, pro hac vice, of the following attorney to represent them and appear and

participate on their behalf in this case as co-counsel:

               Richard Elias
               Missouri Bar #53820
               ELIAS LLC
               231 S. Bemiston Ave. Ste. 800
               St. Louis, MO 63105
               314-391-6820
               Email: relias@EliasLLC.com

       Richard Elias is a member in good standing of the State Bar of Missouri. (See Exhibit A-1,

Certificate of Good Standing from the Eastern District of Missouri, and Exhibit A-2, Certificate of

Good Standing from The Missouri Supreme Court).

       Richard Elias affirms that he will be subject to and abide by the rules of this Court and also

recognizes this Court’s authority on matters of discipline. The following counsel maintains an

                                                      1
office in Arkansas, has previously entered an appearance in this case on behalf of the Plaintiff, and

will continue to act as co-counsel for purposes of this proceeding:



               Shawn Daniels, AR Bar. No. 99126
               DANIELS LAW FIRM, PLLC
               129 West Sunbridge Drive
               Fayetteville, AR 72703
               PH: 479-521-7000
               FAX: 479-437-2007
               Email: shawn@danielsfirm.com


       Wherefore, Plaintiffs requests the Court to grant the above-named counsel permission to

appear and participate pro hac vice in this action.



                                              By: ______________________________________
                                                     Richard Elias
                                                     Missouri Bar #53820
                                                     ELIAS LLC
                                                     231 S. Bemiston Ave. Ste. 800
                                                     St. Louis, MO 63105
                                                     314-391-6820
                                                     Email: relias@EliasLLC.com
                                                     ATTORNEY FOR PLAINTIFF



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this _________ day of ___________, 2020, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system, which shall send a notification

of such filing to all counsels of record.



                                             By: __________________________________
                                                 Richard Elias
                                                 Missouri Bar #53820

                                                      2
        IN THE USDC WESTERN DISTRICT OF AR-FORT SMITH DIV., ARKANSAS
                               CIVIL DIVISION


 ROGER BURKE                                                           PLAINTIFF

 v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION
 (ARKANSAS SECRETARY OF
 STATE FILING #: 100030892)

 NOVARTIS PHARMACEUTICALS
 CORPORATION
 (ARKANSAS SECRETARY OF
 STATE FILING #: 800103152)

 and                                                                DEFENDANTS
 LEISURE TIME PRODUCTS, LLC


       ORDER GRANTING MOTION FOR PRO HAC VICE OF RICHARD ELIAS


       BE IT REMEMBERED on the ____ day of ____________, 2020, there was presented to

the Court the Motion for Admission Pro Hac Vice filed by Richard Elias (“Applicant”), counsel

for Plaintiff Roger Burke and the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Applicant may appear on behalf of Plaintiff Roger Burke in the above case.

       IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Rule 83.5(d), immediately tender the amount of $100.00, made payable

to:   ___________________________________

       IT IS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become

effective until Applicant has complied with all provisions of this Order.



                                                    3
       SIGNED this the __________ day of ___________________, 2020.




                                              _______________________________
                                              JUDGE PRESIDING
Copies to:

       Richard Elias, MO Bar. No. 53820
       ELIAS LLC
       231 S. Bemiston Ave. Ste. 800
       St. Louis, MO 63105
       PH: 314-391-6820
       Email: relias@EliasLLC.com


       Shawn Daniels, AR Bar. No. 99126
       DANIELS LAW FIRM, PLLC
       129 West Sunbridge Drive
       Fayetteville, AR 72703
       PH: 479-521-7000
       FAX: 479-437-2007
       Email: shawn@danielsfirm.com




                                             4
